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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    DAMIEN GUEDES, et al.,

                 Plaintiffs,

          v.
                                                        No. 18-cv-2988 (DLF)
    BUREAU OF ALCOHOL, TOBACCO,
    FIREARMS, AND EXPLOSIVES, et al.,

                 Defendants.



    DAVID CODREA, et al.,

                 Plaintiffs,

          v.
                                                        No. 18-cv-3086 (DLF)
    WILLIAM P. BARR, 1 Attorney General, et
    al.,

                 Defendants.


                                            ORDER

         For the reasons stated in the accompanying memorandum opinion, it is

         ORDERED that plaintiff Damien Guedes’s Motion for a Preliminary Injunction, Dkt. 2,

No. 18-cv-2988, is DENIED;

         ORDERED that plaintiff Firearms Policy Coalition’s Motion for a Preliminary

Injunction, Dkt. 2, No. 18-cv-3083, is DENIED; and




1
 When this suit began, Matthew G. Whitaker was the Acting Attorney General. When William
P. Barr became Attorney General, he was automatically substituted. See Fed. R. Civ. P. 25(d).
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      ORDERED that plaintiff David Codrea’s Motion for a Preliminary Injunction, Dkt. 5,

No. 18-cv-3086, is DENIED.



                                                       ________________________
                                                       DABNEY L. FRIEDRICH
                                                       United States District Judge
February 25, 2019
